 Case 2:09-cr-00015-EFS    ECF No. 2243    filed 08/27/10   PageID.12430 Page 1 of 1




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 5
                            UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7
     UNITED STATES OF AMERICA,                )
 8                                            )     No. CR-09-015-EFS-2
                      Plaintiff,              )
 9                                            )     ORDER GRANTING DEFENDANT’S
     v.                                       )     MOTION TO TRAVEL
10                                            )
     JONATHAN TRI DUC NGUYEN,                 )
11                                            )
                      Defendant.              )
12                                            )

13        Before the court on an expedited basis is Defendant’s Motion to

14   Modify   conditions    of   release    to    allow     travel   to   Santa   Cruz,

15   California.    (Ct. Rec. 2234.)             The United States has filed a

16   Response.

17        IT IS ORDERED the Motion to Modify (Ct. Rec. 2234) is GRANTED.

18   The Defendant is allowed to travel with his immediate family from

19   Seattle, Washington, on August 31, 2010, to Santa Cruz, California,

20   and return to Seattle, Washington, on September 5, 2010.                       The

21   Defendant shall contact his supervising Seattle Probation Officer

22   promptly upon his return.

23        DATED August 27, 2010.

24
25                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING DEFENDANT’S MOTION TO TRAVEL - 1
